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                                               #:2051
                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA


                                      CIVIL MINUTES – GENERAL

 Case No.     LA CV20-00169 JAK (DFMx)                                        Date    September 30, 2024
 Title        Sonos, Inc. v. Google LLC




 Present: The Honorable           JOHN A. KRONSTADT, UNITED STATES DISTRICT JUDGE

                    T. Jackson                                              April Benson
                   Deputy Clerk                                      Court Reporter / Recorder
           Attorneys Present for Plaintiffs:                     Attorneys Present for Defendants:
                    John Smith, III                                         James Judah
                    Sean Sullivan                                          Patrick Weston


 Proceedings:            SONOS’ MOTION TO PARTIALLY LIFT STAY (DKT. 56)


The motion hearing is held. Counsel address the Court. The Court grants certain relief, and DEFERS a
final determination as to the relief requested.

Plaintiff is granted leave to file an amended complaint as to the patents at issue that are no longer
subject to judicial review as well as to other patents that relate to those and that have not previously
been asserted as a basis for relief in this action. This leave is without prejudice to Defendant’s ability to
assert a procedural challenge to this limited amendment in connection with its response to the
amended complaint.

                       The Court sets the following dates and deadlines:

October 15, 2024:              Plaintiff shall file an amended complaint in conformance with the
                               limitations stated at the hearing.

November 18, 2024:             Defendant shall file an answer or a motion in response to the amended
                               complaint.

December 9, 2024:              Plaintiff shall file any opposition to any motion filed by Defendant in
                               response to the amended complaint.

December 23, 2024:             Defendant shall file any reply in support of a motion filed in response to
                               the amended complaint.

January 13, 2025:              Hearing on any motion filed by Defendant in response to the amended
                               complaint.

If the parties agree to modify this schedule, they may submit a stipulation and proposed order.

Following the completion of this process, a further assessment of the Motion may be made to the extent
                                                                                                  Page 1 of 2
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                                              #:2052
                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA


                                     CIVIL MINUTES – GENERAL

 Case No.    LA CV20-00169 JAK (DFMx)                                       Date     September 30, 2024
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that this process informs whether a further complete or partial stay is warranted.

Counsel are encouraged to contact the private neutral who previously worked with the parties to
discuss potential dates for further discussions.

IT IS SO ORDERED.

                                                                                              :        39

                                                           Initials of Preparer    TJ




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